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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

LOABAT AMIRI, et al.,

             Plaintiffs,                      Civil No. 17-12188
                                              Hon. Thomas L. Ludington
v.                                            Mag. Judge Patricia T. Morris

ELAINE C. DUKE, et al.,

          Defendants.
____________________________________/

     DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

       Defendants, by and through their undersigned counsel, move this Court

under Federal Rules of Civil Procedure 12(b)(1), or, in the alternative, Rule

12(b)(6) for dismissal of this case. The grounds for this motion are set forth more

fully in the attached supporting brief.

       Pursuant to Local Rule 7.1(a), the undersigned counsel contacted counsel for

Plaintiffs by email on October 19, 2017. The undersigned counsel explained the

nature of the motion and its legal basis, specifically the doctrine of consular

nonreviewability, and requested concurrence. Plaintiffs’ counsel advised that she

did not concur.
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 LOABAT AMIRI, et al.,

              Plaintiffs,
                                                         Civil No. 17-12188
       v.                                                Hon. Thomas L. Ludington
                                                         Mag. Judge Patricia T. Morris
 ELAINE C. DUKE, et al.,

           Defendants.
 ___________________________________/

      BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                    PLAINTIFFS’ COMPLAINT

                     STATEMENT OF ISSUES PRESENTED
      May a district court second-guess a consular officer’s determination to

refuse a visa for terrorist activities in the absence of specific factual

allegations of bad faith by the consular officer?

                     MOST CONTROLLING AUTHORITY

      Kerry v. Din, 135 S. Ct. 2128 (2015).
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                                  INTRODUCTION

       On March 14, 2016, a consular officer refused a visa to Plaintiff Mohammad

 Amin Latif on the grounds that he is inadmissible for terrorist activities under 8

 U.S.C. § 1182(a)(3)(B). Plaintiffs are challenging this decision, or in the

 alternative, seeking an order requiring the Government to provide an explanation

 for this determination. Plaintiffs’ claims are barred by the doctrine of consular

 nonreviewability and, as a result, this action should be dismissed. See Kerry v.

 Din, 135 S. Ct. 2128 (2015). Moreover, in the alternative, even if Plaintiffs’

 claims were not barred in their entirety by the doctrine of consular

 nonreviewability, Plaintiffs’ claims should be dismissed for failure to state a claim

 because they only make unsupported legal allegations.

                                STATEMENT OF FACTS

       Plaintiff Loabat Amiri is a lawful permanent resident of the United States.

 Dkt. 19 at ¶ 14. Plaintiffs allege that Dr. Amiri filed a request on behalf of

 Plaintiff Mohammad Latif, her husband and a citizen of Great Britain, to classify

 him as the spouse of a lawful permanent resident. Id. at ¶ 49. Mr. Latif made a
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 visa application and was interviewed by a consular officer at the U.S. Embassy in

 London. Id. at ¶ 50.1

       On March 14, 2016, a consular officer informed Mr. Latif that he had been

 found ineligible to receive an immigrant visa under 8 U.S.C. § 1182(a)(3)(B). See

 Dkt. 19 at ¶¶ 50, 86. Plaintiffs are challenging this finding regarding eligibility for

 a visa.2 In addition, Mr. Latif alleges that he sought more information from the

 U.S. Department of State (“DOS”) regarding the basis for the refusal and that DOS

 declined to provide such information. Dkt. 19 at ¶ 51.




 1
   Their twenty year old child, Farbod Latif, is also a plaintiff in this case and is
 challenging the refusal of the visa to his father. See Dkt. 19 at ¶ 27.
 2
    Plaintiffs’ Amended Complaint also references a 2010 order of expedited
 removal which resulted in Mr. Latif being barred from entering the United States
 for five years. See Dkt. 19 at ¶ 42. Defendants do not construe Plaintiffs’
 Amended Complaint as challenging this 2010 order of expedited removal and note
 that the “Relief Requested” section of the Amended Complaint makes no mention
 of the order of expedited removal and does not seek any relief with respect to it.
 See id. at 33. If Plaintiffs were to challenge this order of expedited removal, such a
 challenge would be barred by 8 U.S.C. § 1252(e) and the six-year statute of
 limitations. Moreover, Plaintiffs would lack standing to challenge the five-year bar
 because more than five years have passed since the order was entered against Mr.
 Latif. As a result, Plaintiffs would lack an injury-in-fact that is traceable to the
 entry of the 2010 order of expedited removal and this Court could not provide any
 relief to Plaintiffs with respect to this order.

                                            2
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                        PROCEDURAL BACKGROUND

       On July 5, 2017, Plaintiffs filed a complaint alleging that a consular officer’s

 finding of inadmissibility under 8 U.S.C. § 1182(a)(3)(B) was a violation of the

 Administrative Procedure Act (“APA”), the Immigration and Nationality Act

 (“INA”), and the U.S. Constitution. Dkt. 1.3

       On September 5, 2017, the parties submitted a stipulation and order

 providing that Defendants would have until October 10, 2017, to respond to the

 complaint. See Dkt. 14 (entering this order). The next day, on September 6, 2017,

 Plaintiffs filed a motion to amend. Dkt. 13. On September 20, 2017, Plaintiffs

 filed a notice withdrawing the motion and also filed an unopposed motion to

 amend. Dkt. 6-7. On September 25, 2017, this Court granted the second motion to

 amend and directed Plaintiffs to file their amended complaint by October 5, 2017.




 3
   Specifically, Plaintiffs allege that the Government’s actions violated the First
 Amendment (Count 1), the Equal Protection Clause of the Fifth Amendment
 (Count 2), the Procedural Due Process Clause of the Fifth Amendment (Count 3),
 the “right to travel” under the “Substantive Due Process Clause” of the Fifth
 Amendment (Count 4), Article 1, Section 9 of the U.S. Constitution (Bill of
 Attainder) (Count 5); the Immigration and Nationality Act (“INA”) (Counts 6 and
 7), the Administrative Procedure Act (“APA”) (Count 8); the Confrontation Clause
 of the Sixth Amendment (Count 9), and the Substantive Due Process Clause of the
 Fifth Amendment (Count 10). Dkt. 19. Plaintiffs fail to specify which Plaintiff is
 bringing which legal claim against which Defendant and what relief is sought with
 respect to the particular claim. Given Plaintiffs’ overlapping claim, this Court
 may, in the exercise of its discretion, order Plaintiffs to refile the lawsuit with
 greater clarity.
                                           3
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        On October 5, 2017, Plaintiffs filed and served their Amended Complaint.

 Dkt. 19. Under Rule 15(a)(3), Defendants had 14 days from the date of this

 amended pleading to file their response. Fed. R. Civ. P. 15(a)(3). Defendants

 move to dismiss for lack of jurisdiction and for failure to state a claim.

                               LEGAL BACKGROUND

 I.     The Immigrant Visa Process

        Generally, an alien may not be admitted to the United States without having

 been issued an immigrant or nonimmigrant visa. 8 U.S.C. §§ 1181(a), 1182(a)(7).

 The decision to grant or deny a visa application rests with the consular officer. See

 8 U.S.C. § 1201(a)(1); 22 C.F.R. § 42.71, 42.81; 8 U.S.C. § 1361 (providing that

 the applicant has the burden of proof to establish eligibility for a visa “to the

 satisfaction of the consular officer”). With certain exceptions not relevant here, no

 visa “shall be issued to an alien” if “it appears to the consular officer . . . that such

 alien is ineligible to receive a visa . . . under section 1182 of this title, or any other

 provision of law,” or if “the consular officer knows or has reason to believe” that

 the alien is ineligible. 8 U.S.C. § 1201(g); see 22 C.F.R. § 40.6.

        A consular officer’s citation to 8 U.S.C. § 1182(a)(3)(B), the terrorist

 activities bar, constitutes a facially legitimate and bona fide reason to refuse to

 issue an immigrant visa. See, e.g., Din, 135 S. Ct. at 2141; Hazama v. Tillerson,

 851 F.3d 706, 709 (7th Cir. 2017).


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 II.   The Doctrine of Consular Nonreviewability

       The Supreme Court has long recognized the doctrine of consular

 nonreviewability—the rule that, in the absence of affirmative congressional

 authorization for an alien to challenge the denial of a visa, the alien cannot assert

 any right to review. See Mandel v. Kleindiest, 408 U.S. 753, 762 (1972);4 see, e.g.,

 Saavedra Bruno v. Albright, 197 F.3d 1153, 1159 (D.C. Cir. 1999) (“The doctrine

 holds that a consular official’s decision to issue or withhold a visa is not subject to

 judicial review, at least unless Congress says otherwise.”); Hazama, 851 F.3d at

 708 (“In general, courts have no authority to second-guess the Executive’s

 decision–rulings that are typically made by consular officers of the Department of

 State”). This doctrine applies regardless of how the claims are cast. See, e.g.,

 Lihua Xu v. U.S. Dep’t of State, No. 2:08-cv-1023, 2010 WL 3942723 at *4 (S.D.

 4
   The constitutional right at stake in Mandel was a First Amendment right ---
 scholars and students of an academic invited to the United States claimed that the
 refusal of a waiver of a visa ineligibility ground adversely affected their First
 Amendment right to hear and meet Mandel in person. Id. The Mandel Court was
 satisfied that the reason given for the waiver denial was “facially legitimate and
 bona fide,” and the Court’s inquiry ended there: “the courts will neither look
 behind the exercise of that discretion, nor test it by balancing its justification
 against the First Amendment interests of those who seek personal communication
 with the applicant.” Id. at 770. The Court further explained that when an alien is
 excluded from the United States on the basis of the Executive’s refusal to exercise
 its discretionary authority to waive applicable grounds of inadmissibility, “the
 courts will neither look behind the exercise of that discretion, nor test it by
 balancing its justification against the First Amendment interests of those who seek
 personal communication with the applicant.” Id. at 770.


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 Ohio Oct. 6, 2010); Gogilashvili v. Holder, No. 11-CV-01502 (RRM), 2012 WL

 2394820, *3 (E.D.N.Y. June 25, 2012).

       The Supreme Court’s recent decision in Kerry v. Din, 135 S. Ct. 2128 (2015)

 reaffirmed this body of case law.5 In Din, the Supreme Court found that a consular

 officer satisfied any due process rights a U.S. citizen may have in her spouse’s visa

 applications when the consular officer informed the visa applicant that he was

 inadmissible by citing to a broad statutory provision, 8 U.S.C. § 1182(a)(3)(B), the

 terrorist activities bar to admissibility, without providing a more specific

 subsection or factual allegations. Id. at 2140-41.

 5
   Congress has repeatedly acknowledged the consular nonreviewability doctrine
 and chosen to leave it undisturbed. When Congress drafted the INA in 1952, there
 were suggestions to authorize judicial review of visa denials or to create a semi-
 judicial board “with jurisdiction to review consular decisions pertaining to the
 granting or refusal of visas,” H.R. Rep. No. 1365, 82d Cong., 2d Sess. 36 (1952)
 (House Report); see S. Rep. No. 1515, 81st Cong., 2d Sess. 622 (1950). But
 Congress declined to enact any such procedure. Then in 1961, when the INA was
 amended to authorize judicial review of determinations affecting aliens in the
 United States subject to deportation or exclusion proceedings, Congress provided
 no corresponding right to judicial review for aliens outside the United States
 claiming some right to enter. See Act of Sept. 26, 1961, Pub. L. No. 87-301,
 § 5(a), 75 Stat. 651. As recently as 2002, Congress made clear that the Homeland
 Security Amendments did not create a “private right of action to challenge a
 decision of a consular officer or other United States official or employee to grant
 or deny a visa.” Homeland Security Act of 2002, Pub. L. No. 107-296, § 428(b),
 (e), and (f), 116 Stat. 2187-2190. And Congress has failed to enact numerous bills
 proposing to establish a board within the Department of State to review consular
 officers’ visa decisions. See, e.g., H.R. 3305, 103d Cong., 1st Sess. (1993); H.R.
 2975, 104th Cong., 2d Sess. (1996); H.R. 4539, 105th Cong., 2d Sess. (1998); H.R.
 1345, 107th Cong., 1st Sess. (2001).


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       Justice Kennedy, writing in the narrowest and controlling opinion,6 stated,

 “Under Mandel, respect for the political branches’ broad power over the creation

 and administration of the immigration system extends to determinations of how

 much information the Government is obliged to disclose about a consular officer’s

 denial of a visa to an alien abroad.” Din, 135 S. Ct. at 2141 (Kennedy, J.,

 concurring opinion). Thus, “the Government satisfied any obligation it might have

 had to provide Din with a facially legitimate and bona fide reason for its action

 when it provided notice that her husband was denied admission” under a valid

 statutory ground of inadmissibility.” Id.7

       With respect to the issue of standing, a non-resident unadmitted alien has

 “no constitutional right of entry to this country.” See Mandel, 408 U.S. at 762;

 Hazama, 851 F.3d at 708 (“The Supreme Court has consistently recognized that




 6
   Because neither the plurality nor the concurrence garnered a majority of the
 justices, “the holding of the Court may be viewed as that position taken by those
 members who concurred in the judgments on the narrowest grounds.” Marks v.
 United States, 430 U.S. 188, 193 (1977) (internal quotations and citations omitted).
 Justice Kennedy’s concurrence is the narrowest ruling that a majority of the Court
 would support. This Court, therefore, is bound by Justice Kennedy’s holding that
 citing the statutory basis for inadmissibility satisfies due process and that consular
 nonreviewability precludes any more searching inquiry. See Din, 135 S. Ct. at
 2141. (Kennedy, J., concurring).
 7
  Justice Scalia, writing for the plurality, explained that “to the extent that [Din]
 received any explanation for the Government’s decision, this was more than the
 Due Process Clause required.” 135 S. Ct. at 2138 (Scalia, J., plurality opinion).

                                              7
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 unadmitted, nonresident aliens have no free-standing constitutional right to enter

 the United States”); see, e.g., Ben-Issa v. Reagan, 645 F. Supp. 1556, 1559 (W.D.

 Mich. 1986) (“It is beyond discussion . . . [that] an unadmitted and nonresident

 alien, has no constitutional right to enter the United Sates as an immigrant or

 otherwise”); cf. United States ex rel. Knauff v. Shaughnessy, 338 U.S. 537, 544

 (1950) (“Whatever the procedure authorized by Congress is, it is due process as far

 as an alien denied entry is concerned”).

       In Din, Justice Kennedy declined to decide whether a U.S. citizen had a

 marriage-based liberty interest in her spouse’s visa application that would allow for

 even the limited judicial review discussed above. Din, 135 S. Ct. 2139 (Kennedy,

 J.). However, the better view, is that a U.S. citizen lacks standing to challenge a

 consular officer’s refusal of a visa to his or her spouse. See Din, 135 S. Ct. at 2138

 (Scalia, J., plurality opinion) (“Because Fauzia Din was not deprived of life,

 liberty, or property when the Government denied [her alien spouse] admission to

 the United States, there is no process due to her under the Constitution”) (internal

 quotation marks omitted).8


 8
    A number of district courts that have analyzed this question have reached this
 result. See, e.g., Ben-Issa, 645 F. Supp. at 1559, 1562 (explaining that whatever
 interests a U.S. citizen has, “such interests are distinct from those of her husband
 who as an alien not within the borders of the U.S. has no constitutional interest”);
 Singh v. Tillerson, No. 16-922 (CKK), 2017 WL 4232552 at *5 (D.D.C. Sept. 21,
 2017) (explaining that “while the Constitution protects an individual’s right to

                                            8
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       Justice Scalia’s analysis is consistent with Sixth Circuit precedent. See

 Bangura v. Hansen, 434 F.3d 487, 496 (6th Cir. 2006) (“A denial of an immediate

 relative visa does not infringe upon . . . [a couple’s] right to marry”); Almario v.

 Att’y Gen., 872 F.2d 147, 151 (6th Cir. 1989) (“[T]he Constitution does not

 recognize the right of a citizen spouse to have his or her alien spouse remain in this

 country. . . Nor did Congress provide for this right by statute”). Although not

 expressly addressed by the Sixth Circuit, this reasoning applies even more strongly

 to an adult U.S. citizen son or daughter seeking judicial review of the denial of a

 visa. See, e.g., Singh, 2017 WL 4232552 at *5-6; Gogilashvili, 2012 WL 2394820

 at *5 (applying this reasoning even in the context of a minor child); cf. Butera v.

 District of Columbia, 235 F.3d 637, 656 (D.C. Cir. 2001) (noting that a parent does

 not have a constitutionally protected liberty interest in the companionship of a

 child who is past minority and independent).




 marry and the marital relationship, these constitutional rights are not implicated
 when a spouse is removed or denied entry to the United States”); Gogilashvili,
 2012 WL 2394820 at *5 (“No constitutional right of a citizen spouse is violated by
 deportation or denial of a visa application of his or her alien spouse”). Defendants
 note that the Ninth Circuit Court of Appeals reached a contrary result in
 Bustamante v. Mukasey, 531 F.3d 1059, 1061 (9th Cir. 2008).

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                                     ARGUMENT

       I.     The Amended Complaint does not provide any basis for looking
              behind the consular officer’s determination that Mr. Latif is not
              eligible for a visa.
       In Din, the Supreme Court held that a consular officer satisfied any process

 that a plaintiff may have been entitled to, when the consular officer cited to a

 statutory basis for the visa denial, 8 U.S.C. § 1182(a)(3)(B), without providing a

 specific subsection or factual allegations. Din, 135 S. Ct. at 2141. This holding is

 fatal to Plaintiffs’ claim for additional information regarding the consular officer’s

 refusal of a visa to Mr. Latif.

       As in Din, here, the consular officer determined that Mr. Latif was ineligible

 for the visa citing to 8 U.S.C. § 1182(a)(3)(B), the terrorist activities bar. Dkt. 13

 at ¶ 13. The consular officer was not required to do more. Din, 135 S. Ct. at 2141.

 There simply is no legal basis for Plaintiffs to seek an order from the Court to

 “provide the reason or an explanation of Latif’s inadmissibility determination at

 minimum in camera or in a summary.” See Dkt. 19 at 33 (“Relief Requested”); see

 also, id. at ¶ 51 (allegation regarding Plaintiffs efforts to obtain additional

 information about the refusal); ¶ 131 (same).

       It is irrelevant how Plaintiffs characterize their claims, the decision to

 withhold a visa is not subject to judicial review under the doctrine of consular

 nonreviewability. See Bruno, 197 F.3d at 1159; Gogilashvili, 2012 WL 2394820


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 at *3. Plaintiffs cannot avoid the doctrine of consular nonreviewability by casting

 their claim as a challenge to how DOS interprets the law or makes eligibility

 determinations. See e.g., Lihua Xu, 2010 WL 3942723 at *4 (holding that

 “Plaintiffs cannot circumvent the doctrine of consular nonreviewability by arguing

 that they are challenging Defendants’ interpretation . . . rather than the ultimate

 decision to deny . . . [a] visa application”); Garcia v. Baker, 765 F. Supp. 426, 428

 (N.D. Ill. 1990) (rejecting an attempt by plaintiffs “to avoid the consular

 nonreviewability doctrine by maintaining that they are . . . challenging the State

 Department’s legal opinion”).

       It simply does not matter whether Plaintiffs characterize their claims as a

 constitutional violation (Counts 1, 2, 3, 4, 5, 9, 10), a violation of the INA (Counts

 6, 7), or a violation of the APA (Count 8). However Plaintiffs cast their claims,

 once a consular officer provides a “facially legitimate and bona fide reason” for the

 officer’s determination of ineligibility, “courts will neither look behind the exercise

 of that discretion, nor test it by balancing its justification against” the constitutional

 interests of citizens the visa denial might implicate. Din, 135 S. Ct. at 2140-41

 citing Mandel, 408 U.S. at 770. The Supreme Court has already found that the

 citation to 8 U.S.C. § 1182(a)(3)(B) is such a legitimate and bona fide reason. See

 id. at 2141. There is no requirement that the Government point to a more specific




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 subsection within 8 U.S.C. § 1182(a)(3)(B), see Dkt. 19 at ¶ 8, or to explain how

 the ineligibility determination was made. Id.9

       In sum, a consular officer is not required to divulge the reasoning behind a

 decision or the information supporting it. Id. at 2141; Mandel, 408 U.S. at 770.

 As a result, Plaintiffs’ claims should be dismissed in their entirety.

       II.    Plaintiffs failed to make any showing of bad faith.
       Once the consular officer provides a facially legitimate reason for the visa

 refusal (i.e. a citation to a statutory ground of inadmissibility), the plaintiff has the

 burden of proving that the reason was not “bona fide” by making an “affirmative

 showing of bad faith on the part of the consular officer who denied [] a visa” that is

 “plausibly alleged with sufficient particularity.” Din, 135 S. Ct. at 2141. Absent

 that affirmative showing, courts are “not to ‘look behind’ the Government’s”




 9
    Plaintiff allege that by placing Mr. Latif in the “category” of 8 U.S.C.
 § 1182(a)(3)(B) “on the basis of undisclosed information without informing him of
 such designation, the basis for the designation, or providing an independent forum
 in which” he might “secure the removal of this designation” violates his purported
 Due Process rights under the Fifth Amendment. See Dkt. 19 at ¶ 86 and Count 3
 generally. For the reasons set forth above, this claim is precluded by Din. In
 addition to the extent Plaintiffs’ challenges go beyond the denial of the visa, an
 applicant for admission to the United States has the burden of establishing
 admissibility under U.S. immigration laws. See 8 C.F.R. § 235.1(f). Therefore, it
 is the alien’s burden to establish that none of the grounds of inadmissibility apply,
 and it makes no sense to argue that an alien was not on notice that it is his burden
 to establish admissibility.
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 decision. Id.; see, e.g., Lihua Xu, 2010 WL 3942723 at *3-4 (dismissing for lack

 of subject matter jurisdiction).

       Here, Plaintiffs have failed to allege any facts showing that the consular

 officer refused the immigrant visa in bad faith. See Din, 135 S. Ct. at 2141; Singh,

 2017 WL 4232552 at *6-7 (finding that a complaint lacks any facts that might

 plausibly suggest that the visa refusal was in bad faith). Plaintiffs do allege in a

 conclusory manner that the Government violated Plaintiffs’ First and Fifth

 Amendment rights by allegedly making various determinations on the basis of

 Plaintiffs’ “religious beliefs or appearance of a certain religious belief” and/or

 national origin. See Dkt. 19 at ¶¶ 68-69, 71, 77; see also, Counts 1 and 2

 generally.10 But they allege no facts to support these legal conclusions.11 For

 10
   Plaintiffs also state “the decision is made without even presenting evidence . . . to
 ensure that the executive branch is not operating unchecked on the basis of
 erroneous or nonexistent evidence, or in bad faith.” Dkt. 19 at ¶ 8. Again, this
 allegation does not constitute an affirmative showing of bad faith “plausibly
 alleged with sufficient particularity.” Din, 135 S. Ct. at 2141.
 11
   For example, Counts 1 and 2 do nothing more than speculate, without any
 supporting facts, that Defendants took actions solely on the basis of Plaintiffs’
 “imputed religious beliefs” and/or national origin. Count 3 does not include any
 allegations amounting to a violation of law, and instead includes a conclusory
 statement that Plaintiffs’ due process rights were violated because Plaintiff Latif
 was not informed of the “basis for his inadmissibility” or information the
 Government may have maintained in TECS before he was notified of the denial of
 his visa, an argument that, as explained in greater detail throughout the brief, does
 not demonstrate a violation of law. Count 4 alleges that the Plaintiffs are “unable
 to travel internationally because of the TECS designations” but no facts are
 presented that state that any of the Plaintiffs is unable to travel and it is uncontested

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 example, there are no facts alleged to show that any agency actions were

 undertaken because of Plaintiffs’ religious beliefs, and Plaintiffs fail to introduce

 any plausible comparison to similarly situated groups.

       In sum, the consular officer’s citation to 8 U.S.C. § 1182(a)(3)(B) is a

 facially legitimate and bona fide reason for denying the visa to Mr. Latif. See Din,

 135 S. Ct. at 2140. Because Plaintiff does not dispute that the consular officer

 cited a statutory basis of ineligibility in refusing to issue Mr. Latif an immigrant

 visa (8 U.S.C. § 1182(a)(3)(B)), see Dkt. 19 at ¶ 50, the doctrine of consular non-

 reviewability precludes any further judicial review and the Court should dismiss

 the Amended Complaint.




 that Plaintiff Latif’s inability to travel to the United States is based on the visa
 denial. Count 5 fails for the reasons identified in Section V of this brief. Counts 6
 and 7 fail to provide any facts in support of the alleged violations of the INA and,
 the Government’s facially legitimate identification of a specific ground of
 inadmissibility demonstrates compliance with the INA. Count 8 is addressed in
 Section VI of this Brief. Count 9 does not include any factual allegations and
 erroneously states that Plaintiffs have a right to view the information the consular
 officer relied upon in denying Plaintiff Latif’s visa, which is contrary to the clear
 holding of Din. Count 10 is an attempt to recast the challenge to the visa denial as
 something else and includes allegations that Plaintiff Latif “is legally barred from
 traveling to or from the United States, which he would do had he not been
 subjected to the inadmissibility and TECS designation.” It is uncontested that
 Plaintiff Latif’s visa was denied and it is as a result of that denial that he cannot
 travel to the United States. Count 10 is simply an attempt to circumvent the
 doctrine of consular nonreviewability by framing the allegation as a challenge to
 the determination of inadmissibility and the “TECS designation.”

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       III.   None of the Plaintiffs have standing to challenge a consular
              officer’s refusal of a visa.

       There is an additional problem with Plaintiffs’ Amended Complaint: none

 of the Plaintiffs have standing. Specifically, as an unadmitted, nonresident alien,

 Mr. Latif has no constitutional right to enter the country. See Mandel, 408 U.S. at

 762; see, e.g., Ben-Issa, 645 F. Supp. at 1559 (“It is beyond discussion . . . [that] an

 unadmitted and nonresident alien, has no constitutional right to enter the United

 States . . .”). While the Due Process Clause protects aliens “physically present” in

 the United States, see Bangura, 434 F.3d at 496, Mr. Latif is not physically present

 in the United States. Thus, Mr. Latif’s claim that the Government violated his

 rights by not allowing him to enter the United States necessarily fails.12


 12
    It is for this reason that Plaintiffs’ Substantive Due Process claims (Counts 4
 and 10) must be dismissed as a matter of law. There is an additional specific
 problem with Count 4 alleging a Substantive Due Process violation of the Fifth
 Amendment for infringing on Plaintiffs’ ability to travel: Plaintiffs fail to allege
 any facts indicating that the Government actually infringed on their purported right
 to travel. Plaintiffs do not plausibly allege that Mr. Latif, and his family, are
 unable to travel throughout the world; Mr. Latif is simply not permitted to enter the
 United States because he is not eligible for a visa under U.S. law. See Bangura,
 434 F.3d at 496. The Due Process Clause is not implicated by a visa denial because
 such a denial does not void a litigant’s relationship with his family or prevent him
 from living with his family anywhere in the world besides the United States. See
 Singh, 2017 WL 4232552 at *5.

        Moreover, even in the context of claims by U.S. citizens, the Supreme Court
 has distinguished between “the freedom to travel outside the United States . . . from
 the right to travel within the United States . . .” Haig v. Agee, 453 U.S. 280, 306
 (1981) (emphasis original). And the Sixth Circuit has recently affirmed dismissal

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       In addition, neither Dr. Amiri13 nor their adult son have standing to

 challenge a visa refusal based on their relationship to Mr. Latif. See Din, 135 S.

 Ct. at 2138 (Scalia, J., plurality opinion); see, e.g., Ben-Issa, 645 F. Supp. at 1559,

 1562; Singh, 2017 WL 4232552 at *5-6 (holding that denials of visas did not

 implicate a liberty interest protected by the Fifth Amendment); cf. Bangura, 434

 F.3d at 496 (holding that the denial of an immediate relative visa does not infringe

 upon the right to marry). For these reasons, none of the Plaintiffs have standing.

       IV.    There is an additional reason why Plaintiff has failed to state a
              under the APA (Count 8): the final agency action rule.

       Under the APA, a plaintiff may only challenge a final agency action. See

 Bennett v. Spear, 520 U.S. 154, 177-78 (1997); see, e.g., Bangura, 434 F.3d 500-1.

 As a general matter, two conditions must be satisfied for agency action to be final:

       First, the action must mark the consummation of the agency's
       decisionmaking process . . . [rather than be] merely tentative or interlocutory

 of a lawsuit by a U.S. citizen challenging his inclusion on a list for enhanced
 screening at an airport. See Beydoun v. Sessions, 871 F.3d 459, 468 (6th Cir.
 2017); see also, League of United Latin Am. Citizens v. Bredesen, 500 F.3d 523,
 535 (6th Cir. 2007) (holding that allegations of travel delays do not amount to a
 deprivation of a U.S. citizen’s right to travel); Green v. Transp. Sec. Admin., 351 F.
 Supp. 119, 130 (W.D. Wash. 2005) (holding that “plaintiffs do not have a right to
 travel without any impediments whatsoever”).
 13
    To be clear, Dr. Amiri is not a U.S. citizen. Thus, even if a U.S. citizen spouse
 has standing to challenge a visa refusal (which is contrary to the weight of
 authority in the Sixth Circuit), it is unclear whether Dr. Amiri would have standing
 to challenge the refusal. However, there is no need for this Court to decide this
 issue today.

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       nature. And second, the action must be one by which rights or obligations
       have been determined, or from which legal consequences will flow.

 Bennett, 520 U.S. at 177-78 (quotations and citations omitted).

       Here, the only final agency action challenged is the refusal of a visa to Mr.

 Latif by a consular officer (a claim that is barred by the doctrine of consular

 nonreviewability for the reasons previously discussed). For this additional reason,

 Plaintiffs failed to state a claim under the APA. See Bennett, 520 U.S. at 177-78.

       V.     There are additional reasons why Plaintiff fail to state a claim
              under the First, Fifth, or Sixth Amendments (Counts 1, 2, 3, and
              9).

       Plaintiffs allege in a conclusory manner that the Government maintains

 records on Mr. Latif in governmental databases and that, among other things, this

 violated his purported First, Fifth, and Sixth Amendment rights. See Dkt. 19 at

 ¶¶ 72-73, 77, 82, 85, 130, 131. Aside from making conclusory statements about

 “the TECS designation” that was placed, Plaintiffs never explain what they mean

 by this and Plaintiffs fail to offer any concrete facts that plausibly suggest a

 violation of the law. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570

 (2007) (explaining the complaint must contain sufficient factual matter, accepted

 as true, to “state a claim that is plausible on its face”); Ashcroft v. Iqbal, 556 U.S.

 662, 678 (2009) (holding that plausibility requires “more than a sheer possibility

 that a defendant has acted unlawfully”).



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       Specifically, the Equal Protection Clause of the Fifth Amendment prohibits

 the Government from “deny[ing] to any person within its jurisdiction the equal

 protection of the laws.” U.S. Const. amend XIV, § 1. In order to state an equal

 protection claim, a plaintiff must adequately plead that the government treated the

 plaintiff disparately as compared to similarly situated persons. See Center for Bio-

 Ethical Reform, Inc. v. Napolitano, 648 F.3d 365, 379 (6th Cir. 2011) (“[T]he

 allegations contained in the Amended Complaint as to disparate treatment amount

 to conclusory and unadorned assertions that, consequently, are not well-pleaded,

 and not entitled to a presumption of truth at this stage in the litigation.”); see, e.g.,

 Alger Bible Baptist Church (“ABBC”) v. Township of Moffatt, No. 13-13637, 2014

 WL 462354 at *7 (E.D. Mich. Feb. 5, 2014) (dismissing complaint because

 plaintiff failed to plead sufficient facts to raise the inference that its rezoning

 request was treated differently than similarly-situated requests).

       To prevail on a procedural due process claim, a party must establish three

 elements: (1) that the party possesses a protected interest in life, liberty, or

 property, (2) that the state deprived the party of this interest; and (3) that the state

 “did not afford [him] adequate procedural rights before depriving [him] or [his]

 protected interest.” Wedgewood Ltd. P’ship of Liberty, Ohio, 610 F.3d 340, 349

 (6th Cir. 2010). Only after a plaintiff has met the burden of demonstrating that he

 possessed a protected property or liberty interest will the Court consider whether


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 the process violated his constitutional rights under the Fifth Amendment. Warren

 v. City of Athens, 411 F.3d 697, 708 (6th Cir. 2005).

       To establish a violation of the Free Exercise Clause of the First Amendment,

 a plaintiff must show an unconstitutional burden consisting of compulsion either to

 do an act that violated the plaintiff’s religious convictions or communicate an

 acceptance of a particular idea or affirm a belief. See Mozert v. Hawkins Cty. Bd.

 of Educ., 827 F.2d 1058, 1065 (6th Cir. 1987); see, e.g., Nikolao v. Lyon, 238 F.

 Supp. 3d 964, 975 (E.D. Mich. 2017) (dismissing First Amendment claims).14

         The Sixth Amendment’s Confrontation Clause provides that, “[i]n all

 criminal prosecutions, the accused shall enjoy the right . . . to be confronted with

 the witnesses against him.” See Crawford v. Washington, 541 U.S. 36, 42 (2004).

         Because Plaintiffs’ claims regarding the First, Fifth, and Sixth Amendment

 are wholly conclusory and are not supported by any factual allegations, they

 necessarily fail. See Center for Bio-Ethical Reform, 648 F.3d at 379. For example,

 nowhere in the Amended Complaint do Plaintiffs allege that the Government has

 discriminated on the basis of religion by only maintaining records regarding


 14
    A challenge will fail to state a claim under the Establishment Clause if the
 statute (1) has a secular purpose, (2) does not have the principal or primary effect
 of advancing or inhibiting religion, and (3) does not foster excessive government
 entanglement. Lemon v. Kurtzman, 403 U.S. 602, 612–13 (1971); see, e.g.,
 Harkness v. Secretary of Navy, 858 F.3d 437, 447 (6th Cir. 2017) (affirming
 dismissal of Establishment Clause challenge).

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 individuals that belong to a particular faith. Nor do any of the Plaintiffs allege that

 they were compelled to do an act or communicate an acceptance of a particular

 idea or affirm a belief. See Mozert, 827 F.2d at 1065. Without more, Plaintiffs

 cannot maintain a claim under either the First or Fifth Amendments. See, e.g.,

 ABBC, 2014 WL 462354 at * 7.15 In fact, it is very unclear what purported injury



 15
    It is possible that Mr. Latif and Dr. Amiri are asserting a Due Process claim for a
 deprivation of a purportedly constitutionally protected interest in their reputations
 and their adult son is asserting a claim for “emotional stress” on some basis that
 may or may not be connected to the alleged harm to his parents’ reputation. See
 Dkt. 19 at ¶¶ 95-97. As a threshold matter, it is unclear how Mr. Latif, an
 unadmitted, foreign national has standing to assert any Due Process claim.
 Assuming arguendo that he has standing, both Mr. Latif and Dr. Amiri fail to state
 a claim under the “stigma-plus” standard to determine whether alleged reputational
 harm infringes upon a liberty interest or property interest. See Doe v. Michigan
 Dep’t of State Police, 490 F.3d 491, 501-2 (6th Cir. 2007) citing Paul v. Davis, 424
 U.S. 693, 711 (1976). This test requires the plaintiff alleging reputational harm to
 demonstrate: (1) he suffered a stigma from governmental action, plus (2) he
 experienced an alteration or extinguishment of a right or status previously
 recognized by law. Paul, 42 U.S. at 711. Mr. Latif and Dr. Amiri’s potential
 claim fails because they do not allege any facts showing stigmatization. For
 example, they do not allege that any government agency publicly disclosed his
 alleged placement in TECS. See Tarhuni v. Holder, 8 F. Supp. 3d 1253, 1275 (D.
 Or. 2014) (holding that an instruction to an airline not to permit boarding does “not
 constitute dissemination of the stigmatizing information in such a way as to reach
 the community at large”); see also, Johnson v. Martin, 943 F.2d 15, 17 (7th Cir.
 1991) (no public disclosure when statements not disseminated beyond proper chain
 of command); cf. United States v. Hartwell, 436 F.3d 174, 180 (3d Cir. 2006)
 (explain that because every air passenger is subjected to a search, there is virtually
 no stigma attached to being subjected to search at a known, designated airport
 search). Furthermore, it is unclear under what legal theory Farbod Latif could
 recover damages for “emotional distress.”


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 Dr. Amiri and Farbod Latif are even seeking to redress in this lawsuit. Moreover,

 Plaintiffs’ Sixth Amendment claim does not make any sense because Mr. Latif is

 not a defendant in a criminal prosecution. See Musta v. U.S. Dep’t of Justice, 179

 F.3d 1017, 1022 n.6 (6th Cir. 1999) (explaining that the Sixth Amendment does

 not apply to civil proceedings); Barker v. State of Ohio, 330 F.2d 594, 594 (6th

 Cir. 1964) (same).

       Lastly, it is simply illogical to argue that the Constitution forbids the

 Government from maintaining records about individuals in governmental

 databases. See Beydoun, 871 F.3d at 468 (affirming dismissal of a claim

 challenging the inclusion of a U.S. citizen on a governmental list). Plaintiffs

 concede that U.S. Customs and Border Protection is responsible for maintaining

 and, at times, authoring the contents of individuals’ records in TECS, which

 includes, among other things, information about the inspection and admission of

 persons arriving at U.S. international ports of entry. Id. at ¶ 18.16


 16
      Plaintiffs specifically object to the Government maintaining information about
 Mr. Latif in the TECS database. See Dkt. 19 at ¶¶ 18, 68-69, 77, 82, 85. But
 Plaintiffs present no argument as to why the Government is not permitted to
 maintain information in this type of database. As identified in the publicly
 available System of Records Notice published in the Federal Register, information
 is maintained in TECS “to track individuals who have violated or are suspected of
 violating a law or regulation that is enforced or administered by CBP, to provide a
 record of any inspections conducted at the border by CBP, to determine
 admissibility into the United States, and to record information regarding
 individuals, firms, and organizations to whom DHS/CBP has issued detentions and

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       Plaintiffs further allege that, as a general matter, the Federal Bureau of

 Investigation, the National Security Agency, and the Office of the Director of

 National Intelligence, collect information and then maintain that information in

 databases. Id. at ¶¶ 19, 20, 22. But Plaintiffs fail to allege any facts to connect

 these general allegations to Mr. Latif or any of his constitutional claims. Nor have

 they provided any argument as to why these agencies would not be permitted to

 collect information or maintain information in computer databases as opposed to

 some other format.

       In sum, Plaintiff have failed to plausibly allege that the Government’s

 maintaining records on foreign nationals, without more, is a violation of any

 constitutional right or supports any other type of claim. See Center for Bio-Ethical

 Reform, 648 F.3d at 379.




 warnings.” 73 Fed. Reg. 77778 (Dec. 19, 2008). Plaintiffs specifically state that
 they have traveled internationally and crossed the border (and therefore were the
 subject of inspections conducted at the border) numerous times, and Plaintiffs offer
 no argument as to why the Government is not permitted to maintain records related
 to an individual’s attempt to enter the country or about an immigration order that
 was entered against a foreign national or about any of the other matters that are
 described in the publicly available System of Record Notice.

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       VI.    There are additional reasons why Plaintiffs fail to state a claim
              under the INA (Counts 6, 7).

       Plaintiffs fail to allege that the Government violated a duty contained in any

 particular provision of the INA. Instead, Plaintiffs allege that the Government is

 acting contrary to one of the purported goals of the INA: to “best bring families

 together” to live together in the United States. Dkt. 19 at ¶¶ 112, 117. This is

 insufficient because Plaintiffs fail to identify any statutory provision that was

 allegedly violated and because the Sixth Circuit has already held that there is no

 right for one’s alien spouse to live in the country. See Almario, 872 F.2d at 496.17

       VII. There are additional reasons why Plaintiffs fail to state a claim
            under Article I, Section 9 (Bill of Attainder) (Count 5).

       There is an additional independent reason why Plaintiffs failed to state a

 claim for a violation of Article I, Section 9 (Bill of Attainder). A bill of attainder is

 a law that legislatively determines guilt and inflicts punishment upon an

 identifiable individual without provision of the protections of a judicial trial. See

 Zilich v. Longo, 34 F.3d 359, 362 (6th Cir. 1994). There are three essential

 elements to a bill of attainder, specificity, punishment, and lack of a judicial trial.

 Id. (citations and quotations omitted). The Bill of Attainder Clause is a “safeguard

 against legislative exercise of the judicial function, or more simply – trial by



 17
   The Government does not read the Amended Complaint as raising any claim
 under the INA to the Government maintaining records regarding aliens.
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 legislature.” Song v. Elyria, 985 F.2d 840, 844 (6th Cir. 1993); cf. United States v.

 Lovett, 328 U.S. 303, 315 (1946) (“A bill of attainder is a legislative act which

 inflicts punishment without a judicial trial”).

       Here, Plaintiffs’ challenge is civil in nature and they fail to allege any

 legislative act. See Dkt. 19 at ¶¶ 98-103. Thus, necessarily, they have failed to

 state a claim that any legislative act constitutes a bill of attainder. See Nixon v.

 Adm’r of Gen Servs., 433 U.S. 425, 470 (1977) (rejecting a broad definition of a

 bill of attainder, in part, because “every person or group made subject to legislation

 which he or it finds burdensome may subjectively feel, and complaint, that he or it

 is being subjected to unwarranted punishment”).

       VIII. Plaintiffs fail to allege any legal basis for recovering monetary
             damages.

       The Amended Complaint does not contain any legal basis for recovering

 monetary damages, withdrawing Plaintiffs’ Bivens claims. Thus, they have failed

 to state a claim for damages.18


 18
   It is true that the Federal Tort Claims Act (“FTCA”) allows a person to sue the
 United States for damages. 28 U.S.C. § 1346(b). But a person cannot sue for
 damages unless the person has previously submitted a claim to the agency. See
 McNeil v. United States, 508 U.S. 106, 107, 112 (1993) (affirming dismissal where
 plaintiff filed suit before exhausting his administrative remedies). Further, the
 FTCA leaves the United States immune from lawsuits challenging officials’
 exercise of their “discretionary function.” 28 U.S.C § 2680(a). That limitation
 “prevent[s] judicial second-guessing of legislative and administrative decisions
 grounded in social, economic, and political policy.” United States v. Gaubert, 499

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                                    CONCLUSION

       For the foregoing reasons, this Court should dismiss this action.

 Dated: October 19, 2017                  Respectfully submitted,

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 U.S. 315, 322 (1991). Thus, even if Plaintiffs had cited the FTCA, any claim for
 monetary damages would still need to be dismissed.
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                         CERTIFICATION OF SERVICE

       I hereby certify that on October 19, 2017, I electronically filed the foregoing

 with the Clerk of Court by using the CM/ECF system, which will provide

 electronic notice and an electronic link to this document to the attorneys of record.


                                    By: /s/ Aaron Goldsmith
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